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UNITED S'I`ATES DISTRICT COURT

 

 

DISTRICT oF NEVADA
HENRY AUSTIN,
Plaintiff’ Civil Action No.:
V.
sHELLPoINT MoRTGAGE ; COMPLAINT FOR DAMAGES
PURSUANT To THE FAIR
sERVicING; BANK oF AMERiCA, ;
_ cREDIT REPORTING ACT, 15
NATIONAL AssoclATIoN; . U S C § 1681 ET SEQ
EQUIFAX INFoRMArloN z ' ' ' ’ ‘
sERVlcEs, LLC; EXPERlAN ;
INFoRMATIoN soLUTIoNs, INC, ; JURY TRIAL DEMANDED
Defendants.
INTRoDUchoN

1. The United States Congress has found the banking system is dependent upon
fair and accurate credit reporting. Inaccurate credit reports directly impair
the efficiency of the banking system, and unfair credit reporting methods
undermine the public confidence, which is essential to the continued
functioning of the banking system. Congress enacted the Fair Credit
Reporting Act, 15 U.S.C. § 1681 et seq. (“FCRA”), to insure fair and
accurate reporting, promote efficiency in the banking system, and protect
consumer privacy. The FCRA seeks to ensure consumer reporting agencies
exercise their grave responsibilities with fairness, impartiality, and a respect

for the consumer’s right to privacy because consumer reporting agencies

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have assumed such a vital role in assembling and evaluating consumer credit
and other information on consumers. The FCRA also imposes duties on the
sources that provide credit information to credit reporting agencies, called
“furnishers.”

2. This action also arises out of Defendant’s violations of the Fair Debt
Collection Practices Act, 15 U.S.C. § 1692 et seq. (“FDCPA”), in
Defendant’s illegal efforts to collect a consumer debt.

3. HENRY AUSTIN (“Plaintiff”), by Plaintist attomeys, brings this action to
challenge the actions of SHELLPOINT MORTGAGE SERVICING
(“Shellpoint”), BANK OF AMERICA, NATIONAL ASSOCIATION
(“BOA”), EQUIFAX INFORMATION SERVICES, LLC (“Equifax”), and
EXPERIAN INFORMATION SOLUTIONS, INC. (“Experian”) (orjointly
as “Defendants”) with regard to erroneously reporting derogatory credit
information to national reporting agencies.

4. Defendants failed to properly investigate Plaintiff’s disputes, damaging
Plaintiff’s creditworthiness

JURISDICTION AND VENUE

5. This Court has federal question jurisdiction because this case arises out of
violation of federal law. 15 U.S.C. §1681 et seq.; 28 U.S.C. §1331;Smith v.

Community Lending, Inc., 773 F.Supp.Zd 941, 946 (D. Nev. 2011).

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This action arises out of each Defendant’s violations of the Fair Credit
Reporting Act, 15 U.S.C. §§ 1681-1681(x) (“FCRA”).

Venue is proper in the United States District Court for the District of Nevada
pursuant to 28 U.S.C. § 1391(b) because Plaintiff is a resident of Clark
County, the State of Nevada and because Defendants are subject to personal
jurisdiction in the County of Clark, State of Nevada as they conduct business
there. Venue is also proper because, the conduct giving rise to this action
occurred in Nevada. 28 U.S.C. § 1391(b)(2). Further, Equifax has a
registered agent of service in Nevada and is listed with the Nevada Secretary
of State as a foreign limited liability company doing business in Nevada.

PARTIES

Plaintiff is a natural person residing in the County of Clark, State of Nevada.
In addition, Plaintiff is a “consumer” as that term is defined by 15 U.S.C. §
1681a(c).

Defendant BOA is a corporation doing business in the State of Nevada.
Defendant BOA is a furnisher of information as contemplated by 15 U.S.C.
§ 16815-2(b) that regularly and in the ordinary course of business furnishes
information to a consumer credit reporting agency.

Shellpoint is doing business in the State of Nevada as a business entity and

is a “debt collector” as the term is defined by 15 U.S.C. § 16923(6).

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Defendant Equifax regularly assembles and/or evaluates consumer credit
information for the purpose of furnishing consumer reports to third parties,
and uses interstate commerce to prepare and/or furnish the reports. Equifax
is a “consumer reporting agency” as that term is defined by 15 U.S.C. §
1681a(f), doing business with its principal place of business in Georgia.
Defendant Experian regularly assembles and/or evaluates consumer credit
information for the purpose of furnishing consumer reports to third parties,
and uses interstate commerce to prepare and/or furnish the reports. Experian
is a “consumer reporting agency” as that term is defined by 15 U.S.C. §
1681a(f), doing business in Nevada, with a principal place of business in
Ohio.

Unless otherwise indicated, the use of Defendants’ name in this Complaint
includes all agents, employees, officers, members, directors, heirs,
successors, assigns, principals, trustees, sureties, subrogees, representatives,
and insurers of Defendants’ named.

GENERAL ALLEGATloNs
On or about 12/30/2011, Plaintiff filed for Chapter 13 Bankruptcy in the

United States Bankruptcy Court for the District of Nevada. Plaintiff’s case
was assigned Case Number 11-29773-btb (the “Chapter 13” or

“Bankruptcy”).

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The obligations (“Debt”) to each Defendant herein (as applicable) were
scheduled in the Bankruptcy and each respective creditor-Defendant, or its
predecessor in interest, received notice of the Bankruptcy.

None of the Defendants named herein filed any proceedings to declare their
alleged debts “non-dischargeable” pursuant to ll U.S.C. § 523 et seq.

On August 1, 2012, the Chapter 13 Bankruptcy was converted to a Chapter 7
Bankruptcy (the “Chapter 7 Bankruptcy”).

Accordingly, the debts to each Defendant named herein (as applicable) were
discharged through the Bankruptcy on 1()/31/2012.

Further, while the automatic stay was in effect during the Bankruptcy, it was
illegal and inaccurate for any of the creditor-defendants to report any post-
Bankruptcy derogatory collection information, which was inconsistent with
the Orders entered by the Bankruptcy Court.

I-Iowever, Defendants named herein, and each of them, either reported or
caused to be reported inaccurate information after the Bankruptcy as
discussed herein.

Defendant’s reporting post-Bankruptcy derogatory information was
inaccurate and misleading in that each Defendant continued reporting

information based on Defendant’s pre-bankruptcy contract terms with the

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Plaintiff, which were no longer enforceable upon the bankruptcy filing,
thereby rendering the disputed information “inaccurate”.

Additionally, Defendant’s inaccurate reporting did not comply with the
Consumer Data Industry Association’S l\/Ietro 2 reporting standards, which
provides guidance for credit reporting and FCRA compliance.

To help furnishers comply with their requirements under the FCRA, the
Consumer Data Industry Association (“CDIA”) publishes standard
guidelines for reporting data called the “Metro 2 Format.”

Notably, the payment history and account status guidelines are the same,
meaning that the “payment history” and “account status” should be reported
the same way both during and after a bankruptcy proceeding Id.

The only difference in reporting a pre-discharged debt and a discharged debt
is to delete the balance (or report a balance of $O). Id.

lndeed, the guidelines direct furnishers to report an account status as it
existed at the time the bankruptcy petition was filed and not the account
status as it would have existed in the months following the filing of the
petition if the petition had not been filed. Id.

Courts rely on such guidance to determine furnisher liability. See e.g. In re
Helmes, 336 B.R. 105, 107 (Bankr. E.D. Va. 2005) (finding that "industry

standards require that a debt discharged in bankruptcy be reported to a credit

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reporting agency with the notation `Discharged in bankruptcy' and with a
zero balance due”).

Defendants did not conform to the Metro 2 Format when reporting on
Plaintiff’s accounts after the Plaintiff filed Bankruptcy as further set forth
below. To this end, the adverse reporting on the Plaintiff’s report departs
from the credit industry’s own reporting standards and was therefore
inaccurate under the CDIA’s standards as well.

ALLL§ATIONS APPLICABLE TO Thl_il FDCPA

A. The Shellpoint Debt

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Plaintiff allegedly incurred a debt to a creditor for a home loan.

As such, the debt arose from services provided by the creditor which were
primarily for family, personal or household purposes and which meets the
definition of a “debt” under 15 U.S.C. § 1692a(5).

Plaintiff subsequently defaulted on the debt, and Creditor transferred,
assigned, or otherwise conveyed the debt to Shellpoint.

Accordingly, Shellpoint, at all times herein was acting as a default mortgage
servicer for the debt,

Shellpoint attempted to collect the debt and, as such, engaged in

“communications” as defined in 15 U.S.C. § l692a(2).

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B. Shellpoint Engages in Illegal Collection Tactics

35.In an Experian credit report dated April 22, 2015, Shellpoint reported that
Plaintiff owed a balance on the account in the amount of $257,256 from
March 2014 through February 2015. See “Exhibit 1”. This was inaccurate
since Plaintiff filed for Bankruptcy and obtained a discharge. Furthermore,
Plaintiff surrendered the property underlying the debt through the
Bankruptcy and the debt was therefore unenforceable in any amount.

36. Shellpoint further reported that Plaintiff was 180 days past due from March
2014 through February 2015, which also mischaracterized the Debt, since
the underlying property was surrendered through the Bankruptcy and the
Plaintiff’s requirements to maintain payments for this Debt ceased resulting
from being surrendered in the Bankruptcy.

37.Shellpoint accordingly misrepresented the enforceability, character, amount
and/or legal status of the debt,

38. As a result of Shellpoint’s illegal collection practices, the Plaintiff has
suffered and continues to suffer actual damages as a result of Shellpoint’s
unlawful conduct.

39. As a direct consequence of Shellpoint’s acts, practices and conduct, the
Plaintiff suffered and continues to suffer from anger, anxiety, emotional

distress, frustration, rage, and credit damage.

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THE E@IFAX VIOLATIONS

BOA Misregorted Credit Information

RE: Account No. 183

In an Equifax credit report dated April 22, 2015, BOA inaccurately reported
that the Plaintiff’s “Date Major Delinquency 1st Reported” (hereinafter
“DLA”) was August 2012, When the Plaintiff filed Bankruptcy on
12/30/2011. See a true and correct redacted copy attached hereto as
“Exhibit 3”. The DLA date should have been no later than the Bankruptcy
filing date. By reporting a DLA later than the Bankruptcy filing date BOA
caused the DLA to remain on the Plaintiff’s credit reported longer than
allowed under the FCRA’s obsolescence period codified at 15 U.S.C. §
1681c(a). BOA’s “re-aging” of its debt is illegally causing the trade line to
remain on the Plaintiff’s credit report longer than legally permissible.

On or about August 10, 2015, pursuant to 15 U.S.C. § 1681i(a)(2), Plaintiff
disputed BOA’s reported information regarding its reported obligation by
notifying Equifax, in writing, of the incorrect and inaccurate credit
information furnished by BOA. Id.

Specifically, Plaintiff sent a letter, certified, return receipt, to Equifax (the
“Equifax Dispute Letter”), requesting the above inaccurate and incorrect

derogatory information be removed as follows:

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Furnisher Name/Address: Bank of America, N.A.

1800 Tapo Canyon CA6 914 01 91
Simi Valley, CA 93063

 

Furnisher Acct. No.: 183

 

 

Consumer Dispute:

o This account was included in my Bankruptcy which was
filed on 12/30/2011 and discharged 10/31/2012,
bearing docket No. 11-29773-btb in the District for
Nevada. The last activity date on this account should be
no greater than the filing date, 12/30/2011. However,
this account is showing activity after the Bankruptcy
filing date, which is causing this account to remain on
my credit report longer than it should. Specifically, you
show the Date Maj. Del. 15t Rptd 08/2012.

 

 

 

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Upon receiving the Equifax Dispute Letter, Equifax timely notified BOA of
the dispute based on its mandated statutory duty pursuant to 15 U.SC. §
16811.

Defendants were each required to conduct an investigation into this specific
account on Plaintiff’s consumer report pursuant to 15 U.S.C. §16811.

On or about August 21, 2015, Plaintiff received notification from Equifax
through its “reinvestigation” (Equifax Report No. 5233019944) that BOA
and Equifax received notice of Plaintiff’s dispute pursuant to 15 U.SC. §
1681i(a)(6). See a true and correct redacted copy attached hereto as “Exhibit
4”.

BOA and Equifax failed to conduct a reasonable investigation as required by
15 U.S.C. § 1681s-2(b)(1)(A) and wrongly verified inaccurate information

in connection with Plaintiff" s credit reports. Id.

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BOA and Equifax failed to review all relevant information provided by
Plaintiff in the dispute to Equifax, as required by and in violation of 15
U.SC. § 16815-2(b)(1)(B).

BOA and Equifax re-reported the inaccurate derogatory information on
Plaintiff’s report Specif`ically, BOA and Equifax still inaccurately reported
that the Plaintiff’s DLA was August 2012.

BOA and Equifax, upon receipt of Plaintiff’s dispute, failed to conduct an
investigation with respect to the disputed information as required by 15
U.SC. § 1681s-2(b)(1)(A).

Due to BOA’s and Equifax’s failure to reasonably investigate Plaintiff’s
dispute, they each further failed to correct and update Plaintiff’s information
as required by 15 U.S.C. § 1681s-2(b)(1)(E), thereby causing continued
reporting of inaccurate information in violation of 15 U.S.C. § 1681-
S(Z)(b)(l)(C)-

Plaintiff’s continued efforts to correct BOA’s and Equifax’s erroneous and
negative reporting of the discharged debt by communicating Plaintiff’s
dispute with BOA and Equifax were fruitless

BOA’s and Equifax’s continued inaccurate and negative reporting of the
discharged debt in light of its knowledge of the actual error was willful.

Plaintiff is, accordingly, eligible for statutory damages

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Also as a result of BOA’s and Equifax’s continued inaccurate and negative
reporting, Plaintiff has suffered actual damages, including without limitation
credit denials, out-of-pocket expenses in challenging the Defendants’
wrongful representations, damage to his creditworthiness, and emotional
distress

By inaccurately reporting account information relating to the discharged
debt after notice and confirmation of its errors, BOA and Equifax failed to
take the appropriate measures as required under 15 U.S.C. §§ 1681-
S(Z)(b)(l)(D) and (E)~

THE EXPERIAN VIOLATIONS

BOA Misreported Credit Information

B_E: Account No. 8523
In an Experian credit report dated April 22, 2015, BOA reported that
Plaintiff was 60 days past due in January 2012, 90 days past due in February
2012, 120 days past due in March 2012, and 150 days past due in April
2012. See “Exhibit 1”. This was inaccurate, since the Plaintiff performed all
obligations required under the Bankruptcy and obtained a discharge.
BOA reported this inaccurate information even though Plaintiff surrendered

the property securing the debt.

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57. On or about August 10, 2015, pursuant to 15 U.S.C. § 1681i(a)(2), Plaintiff
disputed BOA’s reported information regarding its reported obligation by
notifying Experian, in writing, of the incorrect and inaccurate credit
information furnished by BOA. Id.

58. Specifically, Plaintiff sent a letter, certified, return receipt, to Experian (the
“Experian Dispute Letter”), requesting the above inaccurate and incorrect

derogatory information be removed as follows:

 

 

Furnisher Name/Address: BK of AMER
1800 Tapo Canyon Rd
Simi Valley, CA 93063
Furnisher Acct. No.: 8523

 

 

Consumer Dispute:

o This account Was discharged in my Bankruptcy which
was filed on 12/30/2011 and discharged 10/31/2012,
bearing docket No. 11-29773-btb in the District for
Nevada. There should be no derogatory reporting after
the filing date. Specifically, please remove the
derogatory information for the following post-
bankruptcy dates: ]an2012 (60 days past due]; Feb2012
(90 days past due); Mar2012 (120 days past due] and
Apr2012 (150 days past due].

 

 

 

59. Upon receiving the Experian Dispute Letter, Experian timely notified BOA
of the dispute based on its mandated statutory duty pursuant to 15 U.SC. §
1681i.

60. Defendants were each required to conduct an investigation into this specific

account on Plaintist consumer report pursuant to 15 U.S.C. §168 l i.

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On or about August 28, 2015, Plaintiff received notification from Experian
through its “reinvestigation” (Experian Report No. 1208-0198-29) that- BOA
and Experian received notice of Plaintiff’s dispute pursuant to 15 U.SC. §
1681i(a)(6), and verified the account as “Updated”. See “Exhibit 2”.

BOA and Experian failed to conduct a reasonable investigation as required
by 15 U.SC. § 16815-2(b)(1)(A) and wrongly verified inaccurate information
in connection with Plaintiff`s credit reports

BOA and Experian failed to review all relevant information provided by
Plaintiff in the dispute to Experian, as required by and in violation of 15
U.S.C. § 1681s-2(b)(1)(B).

BOA and Experian re-reported the inaccurate derogatory information on
Plaintiff’s report. Specifically, BOA and Experian still reported Plaintiff
was 60 days past due in January 2012, 90 days past due in February 2012,
120 days past due in March 2012, and 150 days past due in April 2012.
BOA and Experian, upon receipt of Plaintiff’s dispute, failed to conduct an
investigation with respect to the disputed information as required by 15
U.SC. § 1681s-2(b)(1)(A).

Due to BOA’s and Experian’s failure to reasonably investigate Plaintiff’s
dispute, they each further failed to correct and update Plaintiff' s information

as required by 15 U.S.C. § 1681s-2(b)(1)(E), thereby causing continued

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reporting of inaccurate information in violation of 15 U.S.C. § 1681-
S(Z)(b)(l)(C)»

Plaintiff’ s continued efforts to correct BOA’s and Experian’s erroneous and
negative reporting of the discharged debt by communicating Plaintiff’s
dispute with BOA and Experian were fruitless

BOA’s and Experian’s continued inaccurate and negative reporting of the
discharged debt in light of its knowledge of the actual error was willful.
Plaintiff is, accordingly, eligible for statutory damages

Also as a result of BOA’s and Experian’s continued inaccurate and negative
reporting, Plaintiff has suffered actual damages, including without limitation
credit denials, out-of-pocket expenses in_ challenging the Defendants’
wrongful representations damage to his creditworthiness, and emotional
distress

By inaccurately reporting account information relating to the discharged
debt after notice and confirmation of its errors, BOA and Experian failed to

take the appropriate measures as required under 15 U.S.C. §§ 1681-

s(2)(b)(1)(D) and (E).

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FIRST CAUSE OF AcTIoN
VIoLATloN OF THE FAIR CREDIT REPoRTlNG ACT
15 U.S.C. § 1681 ET SEQ. (FCRA)
Plaintiff incorporates by reference all of the above paragraphs of this
Complaint as though fully stated herein.
The foregoing acts and omissions constitute numerous and multiple willful,
reckless or negligent violations of the FCRA, including but not limited to
each and every one of the above-cited provisions of the FCRA, 15 U.S.C.
§1681.
As a result of each and every willful violation of the FCRA, Plaintiff is
entitled to actual damages as the Court may allow pursuant to 15 U.S.C. §
1681n(a)(1); statutory damages pursuant to 15 U.S.C. § 1681n(a)(1);
punitive damages as the Court may allow pursuant to 15 U.S.C. §
l681n(a)(2); and reasonable attorney’s fees and costs pursuant to 15 U.S.C.
§ 1681n(a)(3) from Defendants
As a result of each and every negligent noncompliance of the FCRA,
Plaintiff is entitled to actual damages as the Court may allow pursuant to 15

U.S.C. § l6810(a)(l); and reasonable attorney’s fees and costs pursuant to

15 U.S.C. § 16810(a)(2) from Defendants

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SEcoND CAUSE OF AcTroN
VIoLATIoN OF THE FAlR DEBT CoLLEchoN PRACTICES Ac'r
15 U.S.C. § 1692 ET SEQ. (FDCPA)
AS TO SHELLPOINT

1. The Plaintiff incorporates by reference all of the above paragraphs of this
Complaint as though fully stated herein.

2. Defendants’ conduct violated 15 U.S.C. § l692e(2) in that Defendants’
misrepresented the character, amount or status of the Debt owed by Plaintiff.

3. Defendants’ conduct violated 15 U.S.C. § 1692e(8) in that Defendants
communicated or threatened to communicate false credit information in an
attempt to collect a debt,

4. The foregoing acts and omissions of Defendants constitute numerous and
multiple violations of the FDCPA, including every one of the above-cited
provisions

5. The Plaintiff is entitled to damages as a result of Defendants’ violations

6. The Plaintiff has been required to retain the undersigned as counsel to
protect the Plaintiff’s legal rights to prosecute this cause of action, and is
therefore entitled to an award or reasonable attomeys’ fees plus costs

incurred.

PRAYER FoR RELIEF

Plaintiff respectfully requests the Court grant Plaintiff the following relief

against Defendants:

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FIRST CAusE OF AchoN
VloLArroN OF THE FAIR CREI)IT REPoRTING AcT
15 U.S.C. § 1681 ET sEQ. (FCRA)

0 an award of actual damages pursuant to 15 U.S.C. § 1681n(a)(1);
o award of statutory damages pursuant to 15 U.S.C. § 1681n(a)(1);
0 an award of punitive damages as the Court may allow pursuant to 15

U.S.C. § 1681n(a)(2);
0 award of costs of litigation and reasonable attomey’s fees, pursuant to 15

U.S.C. § 1681n(a)(3), and 15 U.S.C. § 1681(0)(a)(1) against Defendant

for each incident of negligent noncompliance of the FCRA; and

o any other relief the Court may deem just and proper.

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TRIAL BY JURY

75. Pursuant to the seventh amendment to the Constitution of the United States

of America, Plaintiff is entitled to, and demands, a trial by jury.

Daied; Aprii 26, 2016

Respectfully submitted,

By: [s[ David H. Krieger, Esg.

David H. Krieger, Esq.

Nevada Bar No. 9086

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